            Case 1:14-cr-00047-AWI-BAM Document 28 Filed 06/13/14 Page 1 of 2

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 5
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 6 United States of America

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                             CASE NO. 1:14-CR-00047 AWI-BAM

11                                  Plaintiff,             STIPULATION TO VACATE STATUS
                                                           CONFERENCE AND SET CHANGE OF PLEA
12                           v.                            HEARING; ORDER

13   GERARDO ALVAREZ-MONTANEZ,

14                                 Defendants.

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16
            IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
17
     counsel of record herein, that the Status Conference date currently set for June 23, 2014, be vacated and
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     that this matter be set for Change of Plea hearing on June 23, 2014, at 10:00 a.m. before the Honorable
19
     Anthony W. Ishii.
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                    The parties agree that the delay resulting from the continuance shall be excluded in the
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     interests of justice, including but not limited to, the need for the period of time set forth herein for
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     further defense preparation, plea negotiation and continuity of counsel pursuant to 18 U.S.C.
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     §3161(h)(7)(A) and (B).
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           Case 1:14-cr-00047-AWI-BAM Document 28 Filed 06/13/14 Page 2 of 2

 1 Dated: June 13, 2014                                  BENJAMIN B. WAGNER
                                                         United States Attorney
 2

 3                                                 By: /s/ BRIAN DELANEY
                                                       BRIAN DELANEY
 4                                                     Assistant United States Attorney
 5

 6

 7

 8 Dated: June 13 , 2014                                /s/Erik Fogderude
                                                        ERIK FOGDERUDE
 9                                                      Attorney for Defendant
                                                        GERARDO ALVAREZ-MONTANEZ
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11
                                                    ORDER
12
     IT IS SO ORDERED that the 2nd Status Conference for Defendant Gerardo Alvarez-Montanez (2)
13
     ONLY is off calendar on June 23, 2014 at 1:00 p.m. and Reset as a Change of Plea hearing for June 23,
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     2014, at 10:00 a.m. before the Honorable Anthony W. Ishii.
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16 IT IS SO ORDERED.

17          Dated:    June 13, 2014                           /s/ Barbara A. McAuliffe             _
                                                        UNITED STATES MAGISTRATE JUDGE
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